                 Case 8-18-75664-reg                   Doc 20          Filed 10/25/18    Entered 10/25/18 14:13:57


Information to identify the case:
Debtor 1              Maurice Jason Ovid Thomas                                         Social Security number or ITIN   xxx−xx−8899
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Eastern District of New York
                                                                                        Date case filed for chapter 7 8/21/18
Case number:          8−18−75664−reg




                         ORDER TO CLOSE AUTOMATICALLY DISMISSED CASE

The above−captioned case was automatically dismissed under § 521(i)(l).

IT IS ORDERED THAT:

       Marc A Pergament (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and the bond
is cancelled.

         The Chapter 7 case of the above−named debtor(s) is closed.




                                                                                        s/ Robert E. Grossman
                                                                                        United States Bankruptcy Judge
Dated: October 25, 2018




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